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Case 2:07-md-01873-KDE-ALC Document 14140-4 Filed 05/21/10 Page 1 of 2

AO 440 (Rev. 12/09) Summons in a Civil Action iy O34 /
UNITED STATES DISTRICT COURT
for the

Eastern District of Louisiana

RUBIN FILMORE

Plaintiff
Vv Civil Action No. 09-6166

CRUM & FORSTER SPECIALTY INS. CO., ET AL

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
SENTRY INSURANCE, A MUTUAL COMPANY
through the Louisiana Secretary of State
8585 Archives Avenue
Baton Rouge, LA 70809

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule [2 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Justin |. Woods

Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.
2800 Energy Centre, 1100 Poydras St.

New Orleans, LA 70163-2800

Telephone: (504) 522-2304; Facsimile: (504) 528-9973

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Loretta G. Whyte

Name of clerk of court

Date: May 21 2010 2 : Viet —
Deputy clerWs signatég:

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Civil Action No. 09-6166

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (0)

This summons for (name of individual ard title, if any) Sn ify LTS. @ j se RY ED 2 N IE

was received by me on (date) e-gs-tO May 25
Vii ANID

© I personally served the summons on the individual at (place) -.
on (daQOMMERCIAL DIVISION’

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) > and mailed a copy to the individual's last known address; or

O [served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ;or
CO I retumed the summons unexecuted because 3 or
© Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: a 9S O ba lo

Server's si
Ken lowe ff ss Servet
Printed name and title

Jol Siz Chap les pled 22020

Server's address

Additional information regarding attempted service, etc:
